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   Case No. 2:21-cv-04200-JWH-PD                                  Date: October 29, 2021
   Title         Christopher T Barone v Los Angeles County Sheriff’s Department, et al

   called an individual to the premises who had an expired restraining order
   against Plaintiff. Plaintiff states that he informed the deputies that he had
   never been served with the restraining order. Despite that fact, Plaintiff was
   arrested when the individual arrived at the country club. Additionally, six
   unnamed deputies searched Plaintiff and his truck without a warrant. The
   FAC clarified that the criminal case did not result in a conviction against
   Plaintiff, and that it was “dropped” in January 2021. [Dkt. No. 10 at 9.]

          The FAC states eight causes of action: (1) violation of the Fourth
   Amendment for unlawful/unreasonable seizure of person by the deputies; (2)
   violation of the Fourth Amendment for unreasonable/unlawful entry and
   search and seizure by six unnamed deputies and the LASD; (3) liability under
   Monell v. N.Y.C. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978), for the failure
   to properly hire, fire, discipline, and train by the LASD; (4) Monell liability
   for the violation of Plaintiff’s federal constitutional rights as a result of an
   official policy, custom, usage and practice by the LASD; (5) false arrest/false
   imprisonment under state law by all defendants; (6) violation of state law
   Bane Act by all defendants; (7) negligence under state law by all defendants;
   (8) intentional infliction of emotional distress under state law by all
   defendants. Plaintiff seeks compensatory and punitive damages. [Dkt. No.
   10 at 14-27.]

       In a separate order, the Court directs service of the Summons and First
   Amended Complaint on Deputy Park, Deputy Metcalf, and the LASD.

         In the FAC, Plaintiff alleges that unnamed deputies seized him and
   searched him and his truck in violation of the Fourth Amendment and state
   law. Doe pleading is generally disfavored in this Circuit. Gillespie v.
   Civiletti, 629 F.2d 637, 642 (9th Cir. 1980).




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   Case No. 2:21-cv-04200-JWH-PD                                  Date: October 29, 2021
   Title         Christopher T Barone v Los Angeles County Sheriff’s Department, et al

         To further the speedy and inexpensive determination of this action, as
   required by Federal Rule of Civil Procedure 1, the Court concludes that it is
   in the interest of justice to authorize Plaintiff to conduct early discovery
   under Federal Rule of Civil Procedure 26(d)(1). The Court finds that limited
   discovery is appropriate to the extent that Plaintiff needs further information
   to identify the Doe defendants and enable service upon them. See Wakefield
   v. Thompson, 177 F.3d 1160, 1163 (9th Cir. 1999) (“[W]here the identity of
   the alleged defendant is not known prior to the filing of a complaint, the
   plaintiff should be given an opportunity through discovery to identify the
   unknown defendants, unless it is clear that discovery would not uncover the
   identities, or that the complaint would be dismissed on other grounds.”
   (quoting Gillespie, 629 F.2d at 642 (alterations omitted))).

         Accordingly, the Court authorizes Plaintiff to serve an interrogatory on
   the LASD to learn the names of the Doe defendants identified in the FAC
   who are alleged to have caused Plaintiff’s injuries. Plaintiff shall serve the
   interrogatory no later than November 15, 2021.

         No later than January 4, 2022, Plaintiff shall file one of the following
   three documents:

           (1)     If no Defendant has yet responded to the FAC, Plaintiff
                   shall file a Second Amended Complaint identifying the Doe
                   defendants by name;

           (2)     If a Defendant has responded to the FAC, Plaintiff shall file
                   a motion for leave to file a Second Amended Complaint,
                   attaching as an exhibit to the motion a copy of the Second
                   Amended Complaint identifying the Doe defendants by
                   name; or



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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

   CHRISTOPHER T. BARONE,            ) Case No. 2:21-cv-04200-JWH-PD
                  Plaintiff,           )
         v.                          )
                                       ) INITIAL ORDER IN CIVIL

                                       ) RIGHTS CASES
   LOS ANGELES COUNTY                )
     SHERIFF’S DEPARTMENT, et al. )

                        Defendants.    )
   _________________________________ )


          This case has been referred to Magistrate Judge Patricia Donahue for pre-

     trial proceedings. All future pleadings and correspondence shall be addressed to

     Isabel Martinez, Clerk to Magistrate Judge Donahue, Roybal Federal

     Courthouse, 255 E. Temple Street, Los Angeles, CA 90012.


     1. Service of Summons and First Amended Complaint

        Plaintiff shall promptly proceed with service of the Summons and First

        Amended Complaint on all named defendants (Los Angeles County Sheriff’s

        Department, Deputy Park, and Deputy Metcalf). Service of the Summons

        and First Amended Complaint must comply with the provisions of Rule 4 of
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       the Federal Rules of Civil Procedure. Plaintiff shall file one copy of the
       proof of service showing compliance with this order no later than
       December 30, 2021. Non-compliance with this paragraph may result in a
       recommendation of dismissal.
 
    2. Pro Se Clinic
       Plaintiff is advised that there is a Federal Pro Se Clinic available for
       assistance. The Clinic offers information and guidance to individuals who
       are representing themselves in federal civil actions. The Clinic is
      administered by a non-profit law firm, Public Counsel, not by the Court.
      More information is available at: http://prose.cacd.uscourts.gov. Please note
      that Pro Se Clinic consultations are by appointment only.

   3. Requirements for Submitting Pleadings to the Court
      a. All documents concerning this case are to be submitted for filing either by
         direct filing at the filing window or by mail, addressed to the Clerk at the
         address indicated above. Pursuant to Local Rule 83-2.11 of the Local
         Rules of this Court, the parties must refrain from communicating with
         the judge by letter or telephone call. All inquiries, requests or other
         matters to be called to the judge’s attention regarding this case must be
         submitted for filing as motions, application or other appropriate
         pleadings and a copy must be served on all other parties in the case.

      b. At the top of the first page of any document submitted for filing, Plaintiff
         shall provide his/her name and mailing address. The address provided
         will be presumed correct and will be used to communicate with Plaintiff.
         During the pendency of the action, Plaintiff must notify the Court
         immediately if his/her address changes and must provide the Court with

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            the new address and its effective date. Any failure by Plaintiff to comply
            with a court order because Plaintiff did not receive the order due to
            his/her failure to inform the Court of his/her current address may result
            in the action being dismissed for failure to prosecute. See Carey v. King,
            856 F.2d 1439, 1440-41 (9th Cir. 1988); Local Rule 41-6.
 
       c.   Only one side of each page shall be used. Each document shall have at
            least a 1 inch margin at the top of each page so that the document can be
            2-hole punched and properly bound in the Court file.

      d. Plaintiff shall submit one original (or, if Plaintiff wishes to receive a
           conformed copy, one original and one copy) of all documents filed with the
           Court. The Clerk will not make photocopies of documents. Plaintiff is
           reminded that he/she must sign the original document. See Fed. R. Civ. P.
           11(a); Local Rule 11-1.

      e. Once a Defendant has been served with process or has entered an
           appearance in the case, Rule 5 of the Federal Rules of Civil Procedure
           requires that Plaintiff must serve each Defendant’s attorney (or the
           Defendant him or herself, if not represented by counsel), with a copy of
           every pleading or other document submitted for the Court’s
           consideration. Each document submitted after any Defendant has
           entered an appearance in the case or has been served with process must
           be accompanied by a proof of service upon each such Defendant in
           accordance with Rule 5 of the Federal Rules of Civil Procedure, and Local
           Rule 5-3 of this Court. Strict compliance with Rule 5 and Local Rule 5-3
           will be required, and any documents which fail to contain the required
           proof of service will be disregarded.

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       f.    Any document submitted that does not comply with the foregoing may be
             returned to Plaintiff without filing, or stricken and denied consideration
             by the court.
 
            IT IS SO ORDERED.
 
    DATED: October 29, 2021
                                          ________________________________
                                           PATRICIA DONAHUE
                                         UNITED STATES MAGISTRATE JUDGE
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